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  9
 10                         UNITED STATES DISTRICT COURT
 11                        CENTRAL DISTRICT OF CALIFORNIA
                                 EASTERN DIVISION
 12
 13   RAUL NOVOA, JAIME CAMPOS                      Civil Action No. 5:17-cv-02514-JGB-
      FUENTES, ABDIAZIZ KARIM, and                  SHKx
 14   RAMON MANCIA, individually and
 15   on behalf of all others similarly situated,   THIRD AMENDED
                                                    COMPLAINT FOR
 16                        Plaintiffs,              DECLARATORY AND
 17                                                 INJUNCTIVE RELIEF AND
      v.
                                                    DAMAGES
 18
      THE GEO GROUP, INC.,
 19
 20
                           Defendant.

 21
 22
 23                               PRELIMINARY STATEMENT
 24
             1.     This action arises from systematic and unlawful wage theft, unjust
 25
      enrichment, and forced labor at one of the nation’s largest and deadliest civil
 26


                                                    1
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  1   immigration detention facilities, California’s Adelanto ICE Processing Center
  2
      (“Adelanto” or the “Adelanto Facility”), and extending to nearly every immigration
  3
      detention facility operated by Defendant the GEO Group, Inc. (“GEO”).
  4

  5          2.     Adelanto is a civil immigration detention center owned and operated for
  6   profit by GEO.
  7
             3.     GEO is a multibillion-dollar corporation that owns and operates detention
  8
  9   facilities around the world, including at least fourteen civil immigration detention centers
 10   in the United States. GEO has made billions in revenue from its contracts with United
 11
      States Immigrations and Customs Enforcement (“ICE”) to operate these facilities.
 12
 13          4.     Although it is contractually required to provide for all essential detention

 14   services at Adelanto, GEO uses free or nearly-free labor of civilly detained immigrants
 15
      to perform those services in order to maximize profits.
 16

 17          5.     GEO pays detained immigrants just $1 per day, or nothing at all, to

 18   maintain and operate Adelanto.
 19
             6.     This labor is not voluntary in any meaningful sense. GEO maintains a
 20
      corporate policy and uniform practice at Adelanto of withholding necessary care from
 21
 22   its detainees to ensure a ready supply of available labor needed to operate the Facility.
 23
      As a result, detainees are forced to submit to GEO’s $1 per day scheme in order to buy
 24
      the basic necessities – including food, water, and hygiene products – that GEO refuses
 25
 26   to provide for them.


                                                   2
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  1         7.     In at least fourteen of its immigration detention centers nationwide,
  2
      including Adelanto, GEO requires detained immigrants to perform uncompensated
  3
      janitorial and maintenance work under threat of solitary confinement and criminal
  4

  5   prosecution. This uncompensated labor is neither required nor permitted by ICE’s
  6   Performance-Based National Detention Standards (“PBNDS”) or GEO’s contracts
  7
      with ICE.
  8
  9         8.     GEO maintains a corporate policy and uniform practice at its civil
 10   immigration detention centers, including Adelanto, of threatening detainees who refuse
 11
      to work with disciplinary segregation or solitary confinement, reporting their actions to
 12
 13   ICE, or referring them for criminal prosecution. These abusive practices and threats of

 14   serious harm ensure that detained immigrants will continue working for subminimum
 15
      wages or nothing at all, thus unlawfully enhancing GEO’s profit margins.
 16

 17         9.     Pursuant to GEO’s policies and practices at nearly every civil immigration

 18   detention facility the company operates, detained immigrants face an impossible choice:
 19
      either perform uncompensated labor under threat of serious harm, or “volunteer” to
 20
      work for GEO for between $1 and $4 per day.
 21
 22         10.    GEO significantly reduces its labor costs and expenses, and increases its
 23
      already vast profits, by unlawfully forcing and coercing detained immigrants to perform
 24
      labor at subminimum wages. These policies and practices violate California minimum
 25
 26   wage law, the California Unfair Competition Law, the California common law of unjust


                                                 3
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  1   enrichment, and the California and federal Trafficking Victims Protection Acts, which
  2
      prohibit forced labor.
  3
             11.        Plaintiffs Raul Novoa, Jaime Campos Fuentes, Abdiaziz Karim, and
  4

  5   Ramon Mancia, individually and on behalf of all others similarly situated, bring this class
  6   action lawsuit to stop the economic exploitation of detained immigrants in GEO’s care,
  7
      to recover unpaid wages, and to remedy the unjust enrichment resulting from GEO’s
  8
  9   unlawful failure to pay its detainee workforce legal wages.
 10                               JURISDICTION AND VENUE
 11
             12.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
 12
 13   because this action arises under the Trafficking Victims Protection Act, 18 U.S.C.

 14   §§ 1589 et seq.
 15
             13.    This Court has subject matter jurisdiction pursuant to the Class Action
 16

 17   Fairness Act of 2005, 28 U.S.C. § 1332(d), because at least one class member is of diverse

 18   citizenship from one defendant; there are more than 100 class members; the aggregate
 19
      amount in controversy exceeds $5,000,000; and minimal diversity exists.
 20
             14.    Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because the
 21
 22   events or omissions giving rise to the claims occurred in this District.
 23
             15.    This Court has personal jurisdiction over GEO because the corporation
 24
      regularly conducts business in California and has sufficient minimum contacts with
 25
 26   California.


                                                  4
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  1          16.   Plaintiffs request that this Court exercise supplemental jurisdiction
  2
      pursuant to 28 U.S.C. § 1367 over their state law claims arising under the California
  3
      Minimum Wage Order, the California Unfair Competition Law, and California common
  4

  5   law.
  6
                                             PARTIES
  7
             17.   Plaintiff Raul Novoa is an adult resident of Los Angeles, California. He is
  8
  9   a lawful permanent resident with longstanding family and community ties in the Los
 10   Angeles area. From 2012 through 2015, Mr. Novoa was detained at the Adelanto Facility.
 11
      During those three years, he was employed by GEO as a janitor and a barber. He was
 12
 13   paid only $1 per day for his labor, regardless of how many hours he worked.

 14          18.   Plaintiff Jaime Campos Fuentes is an adult resident of Inglewood,
 15
      California. He is a citizen of El Salvador and is seeking asylum in the United States. From
 16

 17   approximately December 2016 through January 2018, Mr. Campos was detained at the

 18   Adelanto Facility. During that period, he was employed by GEO as a janitor and
 19
      maintenance worker. He was paid only $1 per day for his labor – or nothing at all –
 20
      regardless of how many hours he worked. Sometimes, he worked in exchange for extra
 21
 22   portions of food. Mr. Campos Fuentes has also performed uncompensated labor for
 23
      GEO under threat of serious harm.
 24
             19.   Plaintiff Abdiaziz Karim is an adult citizen of Somalia who is seeking
 25
 26   asylum in the United States. From approximately August 22, 2017 until approximately


                                                  5
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  1   August 25, 2019, Mr. Karim was a civil immigration detainee at the Adelanto Facility.
  2
      During his detention, Mr. Karim was employed by GEO as a porter or janitor. He was
  3
      paid only $1 per day for his labor – or nothing at all – regardless of how many hours he
  4

  5   worked. Mr. Karim has also performed uncompensated labor for GEO under threat of
  6   serious harm.
  7
            20.    Plaintiff Ramon Mancia is an adult resident of Los Angeles, California. He
  8
  9   is a citizen of El Salvador with longstanding family and community ties in the Los
 10   Angeles area. Mr. Mancia entered the Adelanto Facility as a civil immigration detainee
 11
      on or around April 2019 and is currently detained there. Mr. Mancia is currently
 12
 13   employed by GEO as a kitchen worker. He is paid only $1 per day for his labor – or

 14   nothing at all – regardless of how many hours he works. Mr. Mancia has also performed
 15
      uncompensated labor for GEO under threat of serious harm.
 16

 17         21.    Defendant GEO is a for-profit multinational corporation providing

 18   correctional, detention, and community reentry services. GEO is a Florida corporation,
 19
      with its principal office located at 624 NW 53rd Street, Suite 700, Boca Raton, Florida
 20
      33487. GEO is organized as a Real Estate Investment Trust (“REIT”) business entity
 21
 22   under federal tax laws.
 23
 24
 25
 26


                                                 6
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  1                                      FACTUAL ALLEGATIONS
  2
      A.        Immigration detention is civil—not criminal.
  3
                22.     Each year, hundreds of thousands of individuals are detained in
  4

  5   geographically isolated immigration detention facilities while awaiting immigration or
  6
      citizenship status determinations. These detainees include U.S. citizens, lawful
  7
      permanent residents (green card holders) with longstanding family and community ties,
  8
  9   survivors of torture, asylum seekers, victims of human trafficking, children, and pregnant
 10   women.
 11
                23.     Some detainees, like Mr. Novoa and Mr. Mancia, were brought to the
 12
 13   United States as children. And thousands ultimately have their United States citizenship

 14   or legal residency affirmed by an immigration court or federal judge.
 15
                24.     Immigration violations are civil violations, and immigration detention is
 16

 17   civil in nature.1 Many detainees have no criminal history at all.

 18             25.     Notwithstanding immigration detention’s civil nature and purpose,
 19
      detainees are often subjected to prison-like conditions. According to Dora Schriro,
 20
      former head of ICE’s Office of Detention Policy and Planning, most detainees are held
 21
 22   – systematically and unnecessarily – under circumstances inappropriate for immigration
 23
 24
 25   1
          See Fong Yue Ting v. United States, 149 U.S. 698, 728–30 (1893) (observing that deportation
 26       proceedings have “all the elements of a civil case” and are “in no proper sense a trial or sentence
          for a crime or offense”).


                                                           7
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  1   detention’s noncriminal purposes.2 Detained immigrants are frequently subjected to
  2
      punitive and long-term solitary confinement, inadequate medical care, sexual and
  3
      physical assault, and other harsh conditions of confinement.3
  4

  5            26.   Many detained immigrants submit to deportation simply to obtain release
  6   from these intolerable conditions, even when they have valid claims to remain in the
  7
      United States, including claims to asylum or other discretionary relief.
  8
  9   B.       The privatization of immigration detention and GEO’s economic windfall.
 10            27.   Immigration detention expanded roughly eightfold over the past two
 11
      decades, from a capacity of 5,532 detention beds in 19944 to a current capacity of over
 12
 13   41,000.5

 14            28.   During the same period, GEO and other private prison corporations have
 15
      spent tens of millions of dollars on lobbying efforts.6
 16

 17
 18
 19   2
        Dora Schriro, U.S. Dep’t of Homeland Sec., Immigration Detention Overview and
         Recommendations 10, 15 (2009).
 20   3
        See King v. County of Los Angeles, 885 F.3d 548 (9th Cir. 2018).
      4
 21     Sharita Gruberg, How For-Profit Companies are Driving Immigration Detention Policies, Center
        for American Progress (Dec. 18, 2015), available at
 22     https://www.americanprogress.org/issues/immigration/reports/2015/12/18/127769/how-for-
        profit-companies-are-driving-immigration-detention-policies/
 23   5
        Jenny Jarvie, “This industry stands to benefit from Trump’s crackdown on the border,” Los Angeles
        Times (Feb. 14, 2017) available at http://www.latimes.com/nation/la-na-immigrant-detention-
 24     20170214-story.html;
      6
        Michael Cohen, How for-profit prisons have become the biggest lobby no one is talking about,
 25
        Washington Post (Apr. 28, 2015), available at
 26     https://www.washingtonpost.com/posteverything/wp/2015/04/28/how-for-profit-prisons-have-
        become-the-biggest-lobby-no-one-is-talking-about/?utm_term=.25de04ae71f9


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  1            29.   As immigration detention has expanded, private prison corporations,
  2
      particularly GEO, have gained an increasing share of the contracts for new detention
  3
      beds.7
  4

  5            30.   Contracts with ICE accounted for 23.1% of GEO’s revenues in 2016, up
  6   from 17.7% in 2015.8 GEO officials expect these lucrative ICE contracts to account for
  7
      a significant percentage of the corporation’s ongoing revenues.9
  8
  9            31.   GEO’s revenues in 2016, 2017, and 2018 were over $2 billion, and its stock
 10   is publicly traded on the New York Stock Exchange.
 11
               32.   GEO’s economic windfall, and the profitability of its immigration
 12
 13   detention enterprise, arises from its policy of systemically withholding necessary case

 14   from detainees to ensure a readily available, captive labor force that cleans, maintains,
 15
      and operates its facilities for sub-minimal wages under threat of serious harm and abuse
 16

 17   of legal process. Without this nearly free detainee labor, GEO’s windfall from immigrant

 18   detention would be substantially decreased.
 19
               33.   As a result of its REIT structure and increasing moves by lending
 20
      institutions away from extending credit to the private prison industry, GEO depends on
 21
 22   the free and nearly free labor of detained immigrants to meet its projected revenues.
 23
 24   7
        Bethany Carson & Eleana Diaz, Payoff: How Congress Ensures Private Prison Profit with an
        Immigrant Detention Quota, Grassroots Leadership (Apr. 2015) at 4, Chart 1-AA, available at
 25
        https://grassrootsleadership.org/sites/default/files/reports/quota_report_final_digital.pdf
      8
 26     The GEO Group, Inc., 2017 10-K form at 36, available at
        http://www.snl.com/Cache/c38242453.html.
      9
        Id.
                                                       9
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 1   C.     GEO withholds necessary care from detainees at the Adelanto Facility.
 2
            34.     Since 2011, GEO has contracted with ICE to operate the Adelanto Facility,
 3
     which is a 1,940-bed immigration detention facility in Adelanto, California. More than
 4

 5   73,000 people have passed through the Facility.
 6          35.     Adelanto is notorious for its poor treatment of detainees.
 7
            36.     For example, in November 2011, shortly after Adelanto opened, an ICE
 8
 9   annual review found that the Facility’s “medical officials were not conducting detainee
10   health appraisals within 14 days of arrival, and registered nurses were performing health
11
     assessments” without proper training or certification.10
12
13          37.     Ten months later, ICE’s Office of Detention Oversight found that

14   Adelanto officials often delay responding to detainee requests for medical care and fail
15
     to promptly review medical records.11 That report also said that the death of a detainee
16

17   in March 2012 resulted from “egregious errors” by medical staff and could have been

18   prevented.
19
            38.     In 2014, the Office of Detention Oversight found Adelanto deficient in 26
20
     competency areas, including 16 related to the Facility’s efforts to prevent and intervene
21
22   in sexual abuse.12
23
24   10
         https://www.ice.gov/doclib/foia/odo-compliance-
        inspections/adelantoCorrectionalFac_Adelanto-CA-Sept_18-20-2012.pdf
25   11
         Id.
     12
26       U.S. Immigration and Customs Enforcement, Office of Professional Responsibility, Office of
        Oversight Detention, “Compliance Inspection,” (July 2014), available at
        https://www.ice.gov/doclib/foia/odo-compliance-inspections/2014AdelantoJuly.pdf
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 1          39.     In 2015, more than two dozen members of Congress wrote a letter to
 2
     the U.S. Justice Department and ICE officials expressing concerns about reports of
 3
     medical neglect at the Facility.13 That same year, 26 detainees resorted to a two-week
 4

 5   hunger strike to protest GEO’s failure to provide adequate care there.14
 6          40.     The Adelanto Facility was called “the deadliest detention center of 2017”
 7
     by immigrant rights activists because more detainees died there than in any other
 8
 9   detention center in the United States that year.15
10          41.     A peer-reviewed study released in 2017 found that detainees held six
11
     months or more at Adelanto experienced lower likelihoods of receiving any in-person
12
13   visitation with their children, as well as fewer total visits.16

14          42.     In 2018, the Department of Homeland Security Office of Inspector
15
     General (“OIG”) conducted an unannounced visit of the Adelanto Facility and found
16

17   nooses made of braided bedsheets hanging from vents in 15 of the 20 cells they

18
19
     13
         Kate Linthicum, “Citing neglect, lawmakers urge halt to migrant detention center expansion,” Los
20      Angeles Times (July 14, 2015), available at http://beta.latimes.com/local/lanow/la-me-ln-adelanto-
21      immigrant-detention-20150713-story.html
     14
         Kate Linthicum, “Immigrants end hunger strike at Adelanto detention facility,” Los Angeles Times
22      (Nov. 16, 2015), available at http://beta.latimes.com/local/lanow/la-me-ln-adelanto-hunger-strike-
        ends-20151116-story.html
23   15
         Detention Watch Network, “Third Death in Immigration Detention Makes the Adelanto
        Detention Center the Deadliest Facility in 2017,” (June 2, 2017), available at
24      https://www.detentionwatchnetwork.org/pressroom/releases/2017/third-death-immigration-
        detention-makes-adelanto-detention-center-deadliest
25   16
         Caitlin Patler and Nicolas Branic, “Patterns of Family Visitation During Immigration Detention,”
26      RSF: The Russell Sage Foundation Journal of the Social Sciences, vol. 3 no. 4 18-36 (July 2017)
        available at https://www.rsfjournal.org/content/3/4/18.


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 1   inspected.17 OIG also reported that detainees were inappropriately segregated from
 2
     others without a disciplinary hearing and that that detainees did not have access to
 3
     medical or dental care in a timely fashion, which OIG concluded was responsible for
 4

 5   three deaths since 2015.
 6             43.     Despite this track record, GEO maintains a corporate policy and uniform
 7
     practice of withholding sufficient food, water, and hygiene products from the
 8
 9   immigrants detained at Adelanto. As a result, detained immigrants are forced to either
10   purchase these daily necessities from the Facility’s commissary or go without.
11
               44.     By maintaining these harsh conditions and purposely withholding basic
12
13   necessities from detainees, GEO ensures an available labor pool of detained immigrants

14   will work for only $1 per day, thus allowing it to continue operating the Adelanto Facility
15
     at an enormous profit.
16

17   D.        GEO uses detained immigrants to clean, maintain, and operate the
               Adelanto Facility.
18
19
               45.     Through its so-called Voluntary Work Program (the “Work Program”),

20   GEO hires detainees at Adelanto to perform work that directly contributes to
21
     institutional operations, at a rate of $1 per day.
22
               46.     GEO pays detainees participating in the Work Program more than $1 per
23
24   day for their labor at some of the company’s other civil immigration detention centers.
25
     17
26        Department of Homeland Security, Office of Inspector General, “Management Alert – Issues
          Requiring Action at the Adelanto ICE Processing Center in Adelanto, California,” (Sept. 7, 2019)
          available at https://www.oig.dhs.gov/sites/default/files/assets/Mga/2018/oig-18-86-sep18.pdf
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 1          47.    Despite its name, the Work Program is not “voluntary.” Instead, GEO
 2
     maintains a corporate policy and uniform practice at the Adelanto Facility of withholding
 3
     necessary care from its detained immigrants. As a result, detained immigrants are forced
 4

 5   to submit to GEO’s $1 per day scheme in order to buy necessities – including food,
 6   water, and hygiene products – that GEO refuses to provide for them.
 7
            48.    GEO also operates an “Uncompensated Work Program” at Adelanto.
 8
 9   Under the Uncompensated Work Program, detained immigrants complete a job
10   application for a position in the Work Program, but must work for an arbitrary period
11
     of time – months, in some cases – for no compensation before they are officially hired
12
13   into the Work Program and begin to receive $1 per day for their labor.

14          49.    The Uncompensated Work Program is distinct from the Work Program
15
     because GEO does not pay detained immigrants in the Uncompensated Work Program
16

17   for their labor.

18          50.    In both the Work Program and the Uncompensated Work Program,
19
     detained immigrants are required to work according to an assigned work schedule and
20
     to participate in work-related training. At all times, GEO controls workers’ wages, hours,
21
22   and working conditions.
23
            51.    In both the Work Program and the Uncompensated Work Program, GEO
24
     provides all necessary personal protection equipment and work uniforms. For example,
25
26   kitchen workers are provided with and required to wear a white top/bottom uniform


                                                13
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 1   with a white apron, rubberized work boots, beard guards and hairnets, and freezer
 2
     jackets and gloves as needed.
 3
             52.   In both the Work Program and the Uncompensated Work Program, GEO
 4

 5   tracks the hours detained immigrants work.
 6           53.   In the Work Program only, GEO periodically credits wages to detainee
 7
     workers’ commissary accounts.
 8
 9           54.   GEO refers to detainee workers participating in both the Work Program
10   and the Uncompensated Work Program as “employees.”
11
             55.   Detainee workers participating in both the Work Program and the
12
13   Uncompensated Work Program are “employees” under California’s minimum wage

14   laws.
15
             56.   GEO is an “employer” under California’s minimum wage laws.
16

17           57.   GEO informs all detained immigrants entering the Adelanto Facility that

18   the following work assignments may be available through the Work Program and the
19
     Uncompensated Work Program:
20
                   a. Intake
21
22                 b. Kitchen Worker
23
                   c. Recreation
24
                   d. Library
25
26                 e. Barber


                                               14
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 1                f. Laundry
 2
                  g. Living area clean-up/janitorial
 3
                  h. Evening workers (facility janitorial)
 4

 5                i. Maintenance
 6         58.    In the course of their labor and employment by GEO, detained immigrants
 7
     employed in the Work Program and the Uncompensated Work Program perform a wide
 8
 9   range of work, including but not limited to:
10                a. Scrubbing bathrooms, showers, toilets, and windows;
11
                  b. Cleaning and maintaining GEO’s on-site medical facility;
12
13                c. Cleaning patient rooms and medical staff offices;

14                d. Sweeping, mopping, stripping, and waxing floors throughout the
15                   facility;

16                e. Washing detainee laundry;
17
                  f. Preparing, cooking, and serving detainee meals;
18
19
                  g. Washing dishes;

20                h. Cleaning the kitchen and cafeteria before and after detainee meals;
21
                  i. Performing clerical work for GEO;
22
                  j. Running and managing the law library;
23
24                k. Providing barber services to detainees;
25
                  l. Cleaning intake areas and solitary confinement units; and
26
                  m. Cleaning and maintaining recreational areas.

                                                15
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 1          59.   The Work Program and the Uncompensated Work Program allow GEO
 2
     to avoid recruiting from the traditional labor market, complying with the terms of its
 3
     union contracts, and paying all costs associated with potential, current, and former
 4

 5   employment relationships, thereby reducing operational costs and increasing its own
 6   profits.
 7
            60.   GEO maintains the ability to hire and fire detained immigrant workers in
 8
 9   both the Work Program and the Uncompensated Work Program.
10          61.   GEO does not pay and has not paid detained immigrant workers the state
11
     minimum wage – currently, $12 per hour – for the hours they worked at Adelanto.
12
13          62.   GEO’s contract with ICE requires GEO to comply with all federal, state,

14   and local laws.
15
            63.   No clause in GEO’s contract with ICE or any rule or standard
16

17   incorporated by reference into the contract requires GEO to maximize its profits by

18   paying detainees subminimum wages or nothing at all.
19
            64.   GEO maintains a corporate policy and uniform practice at Adelanto of
20
     threatening to place detainees who refuse to work into solitary confinement. These
21
22   conditions, policies, and practices ensure that detainees continue working for
23
     subminimum wages.
24
            65.   GEO’s pay policies violate California’s minimum wage laws.
25
26


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 1   E.         GEO secures free detainee labor at nearly all of its civil immigration
                detention centers nationwide through systematic threats of serious harm.
 2
 3              66.    GEO owns or operates at least fourteen civil immigration detention
 4
     centers nationwide, including Adelanto, under contracts with ICE.
 5
                67.    At each facility, GEO is contractually required to comply with some
 6
 7   version of ICE’s 2011 PBNDS.
 8              68.    GEO’s contracts with ICE to operate civil immigration detention facilities,
 9
     including Adelanto, incorporate the PBNDS.
10
11              69.    All applicable versions of the PBNDS require any labor performed by a
12   detained immigrant to be voluntary: “Work assignments are voluntary; however all
13
     detainees are responsible for personal housekeeping.” PBNDS § 5.8.V.C.
14
15              70.    The Personal Housekeeping Requirement, PBNDS § 5.8.V.C, provides:18

16

17
18
19
20
21
22
23
24
25
26   18
          Available at https://www.ice.gov/doclib/detention-standards/2011/5-8.pdf (last visited Aug. 14,
          2019).
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 1         71.    Outside of the four personal housekeeping tasks enumerated in PBNDS
 2
     § 5.8.V.C, GEO cannot force or compel civil immigration detainees to work.
 3
           72.    However, in violation of the PBNDS, its contracts with ICE, and the
 4

 5   California and federal forced labor statutes, GEO promulgates and enforces corporate
 6   policies known as Housing Unit Sanitation Policies (“HUSPs”) at nearly all of its civil
 7
     immigration detention facilities, including Adelanto.
 8
 9         73.    GEO’s HUSPs require detained immigrants to perform a wide range of
10   completely uncompensated work for the company’s enrichment.
11
           74.    Under the HUSPs, detained immigrants are forced to perform
12
13   uncompensated labor, such as cleaning and maintaining areas of its facilities that are

14   outside the scope of the Personal Housekeeping Requirement, PBNDS § 5.8.V.C. For
15
     instance, the HUSPs require detained immigrants to clean and sanitize walls, bathrooms,
16

17   showers, toilets, microwaves, furniture, windows and floors—work well outside the four

18   personal housekeeping tasks enumerated in PBNDS § 5.8.V.C.
19
           75.    Detained immigrants do not perform labor under the HUSPs as part of the
20
     ICE-sanctioned Work Program.
21
22         76.    Detained immigrants are not paid to perform labor under the HUSPs.
23
           77.    The work required by the HUSPs is outside the scope of the four specified
24
     personal housekeeping tasks articulated by ICE in PBNDS § 5.8.V.C.
25
26


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 1          78.     At Adelanto and nationwide, GEO obtains compliance with its HUSPs by
 2
     detained immigrants with serious harm, including actual or threated physical restraint,
 3
     physical assault such as pepper spray or use of force, deprivation of legally required
 4

 5   services such as recreation, law library, and telephone time; solitary confinement, and
 6   abuse of legal process, including reporting misbehavior to ICE or to the immigration
 7
     court, and even criminal prosecution.
 8
 9          79.     The Detainee Handbooks provided to each detained immigrant during
10   intake at GEO’s facilities across the country classifies “[r]efusal to clean assigned living
11
     area” as a 300-level “High Moderate” offense punishable by, inter alia, up to 72 hours in
12
13   disciplinary restriction (also known as solitary confinement) or even criminal

14   prosecution.
15
            80.     The Detainee Handbooks also threaten solitary confinement for
16

17   disobeying guards and refusing to comply with corporate facility policies.

18          81.     Detained immigrants thus have no meaningful choice but to comply with
19
     a demand from a GEO official to perform free labor.
20
            82.     The HUSPs are GEO-created corporate policies.
21
22          83.     Detained immigrants at nearly all GEO immigration detention centers are
23
     notified when they enter the facility of GEO’s requirement that they must perform
24
     uncompensated, non-personal cleaning and maintenance work, and that the
25
26   consequence of refusal can be disciplinary action, including solitary confinement.


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 1         84.    In addition to the text of the HUSPs themselves, GEO employs a false
 2
     binary of so-called “Rights and Responsibilities” in its corporate, facility-specific
 3
     Detainee Handbooks in which GEO informs detained immigrants in English and
 4

 5   Spanish (but no other languages) that they have a “right” to participate in a work
 6   program as far as resources are available, but also a corresponding “responsibility” to
 7
     take advantage of activities which may help them live a successful and law-abiding life
 8
 9   within the facility and in the community” and to abide by the regulations governing these
10   programs.
11
           85.    Taken together with the HUSPs, GEO’s facility-specific local Detainee
12
13   Handbooks are intended to leave detained immigrants with the false impression that the

14   company can compel them to perform work outside the four personal housekeeping
15
     tasks set forth in Section 5.8.V.C of the PBNDS.
16

17         86.    No clause in GEO’s contracts with ICE or any rule or standard

18   incorporated by reference therein permits GEO to compel or force detainees to work
19
     for free at Adelanto or any other GEO civil immigration detention facility.
20
           87.    GEO’s contracts with ICE incorporating the PBNDS expressly prohibit
21
22   the company from forcing, coercing, or mandating detainees to complete work
23
     assignments that fall outside the scope of the personal housekeeping requirement,
24
     PBNDS § 5.8.V.C.
25
26


                                                20
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 1          88.     As a federal contractor, GEO is also prohibited by Executive Order, the
 2
     Federal Acquisition Regulations, and Homeland Security Acquisition Regulations from
 3
     using forced labor in the performance of its contracts with ICE.
 4

 5          89.     GEO must promptly report allegations of forced labor made against the
 6   corporation to the federal government, regardless of whether it contests those
 7
     allegations.
 8
 9          90.     On information and belief, GEO has not complied with the requirement
10   that it promptly report allegations of forced labor made by Plaintiffs in this action to the
11
     federal government.
12
13          91.     By carrying out a scheme requiring detained immigrants to perform

14   uncompensated janitorial and maintenance work pursuant to corporate HUSPs and
15
     under threat of serious harm, GEO violates the federal forced labor statute. 18 U.S.C.
16

17   § 1589.

18   F.     Plaintiff Raul Novoa’s individual allegations.
19
            92.     Mr. Novoa is citizen of Mexico and a legal permanent resident of the
20
     United States. He has lived in Los Angeles since age four.
21
22          93.     Mr. Novoa is employed by a commercial construction company to
23
     complete roofing, tiling, drywalling, and framing projects. He currently earns more than
24
     $15 per hour.
25
26


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 1          94.   Mr. Novoa was detained at the Adelanto Facility from June 2012 through
 2
     February 2015.
 3
            95.   Mr. Novoa performed work for GEO at the Adelanto Facility and was not
 4

 5   paid the state minimum wage for that work.
 6          96.   As a janitor, Mr. Novoa worked in a five-person crew to clean windows,
 7
     floors, showers, bathrooms, and communal areas in the Facility. He worked four-hour
 8
 9   shifts, up to seven days per week. He used cleaning supplies and equipment provided by
10   GEO.
11
            97.   As a barber, Mr. Novoa provided haircutting services to other detained
12
13   immigrants. He worked up to 10 hours per day, seven days per week. He used barber

14   supplies and equipment provided by GEO.
15
            98.   In return for this labor, GEO paid Mr. Novoa $1 per day, regardless of the
16

17   number of hours he worked. GEO credited these wages to Mr. Novoa’s commissary

18   account.
19
            99.   GEO withheld daily necessities from Mr. Novoa, thereby forcing him to
20
     work for subminimum wages in order to buy those daily necessities for himself and avoid
21
22   serious harm, including, but not limited to, malnutrition, unsanitary living quarters,
23
     extreme isolation, and unhygienic conditions of confinement.
24
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26


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 1          100. During his detention, Mr. Novoa was often undernourished and
 2
     dehydrated because GEO withheld sufficient food and water. He was also served rotten
 3
     meat, moldy bread, and inedible produce.
 4

 5          101. The drinking water provided by GEO ran black for days at a time and
 6   caused nausea or headaches if ingested.
 7
            102. Mr. Novoa lost approximately 30 pounds in detention at the Adelanto
 8
 9   Facility.
10          103. In order to survive, Mr. Novoa purchased food and water from the
11
     commissary using his wages from the Work Program.
12
13          104. GEO did not provide Mr. Novoa with sufficient quantities of shampoo,

14   lotion, or soap. As a result, Mr. Novoa was often forced to purchase those necessities
15
     from the commissary using his wages from the Work Program.
16

17          105. On several occasions, Mr. Novoa developed a blistering sunburn on his

18   face. GEO did not provide him with sunscreen, even after he requested it from medical
19
     personnel. Instead, Mr. Novoa was forced to purchase sunscreen from the commissary
20
     using his wages form the Work Program.
21
22          106. The shoes issued to Mr. Novoa when he arrived at the Adelanto Facility
23
     fell apart within his first week in detention. GEO did not replace them. Instead, Mr.
24
     Novoa was forced to purchase another pair of shoes from the commissary using his
25
26   wages from the Work Program.


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 1         107. Mr. Novoa spent his wages on soap, shampoo, lotion, sunscreen, food,
 2
     clean drinking water, shoes, and other necessities. These items were not provided to Mr.
 3
     Novoa regularly or in sufficient quantities. Some of these necessities, like sunscreen,
 4

 5   were not provided to Mr. Novoa at all.
 6         108. Officers threatened to put Mr. Novoa in disciplinary segregation, i.e.,
 7
     solitary confinement, if he stopped working, encouraged other detainees to stop working
 8
 9   or complained about subminimum wages.
10         109. On several occasions, officers threatened to or actually forced Mr. Novoa
11
     to move to a different dorm – isolated from his peers and friends – after he complained
12
13   about the Work Program, subminimum wages and/or the deprivation of necessities at

14   the Adelanto Facility. During these transfers, officers would “toss” Mr. Novoa’s dorm
15
     by throwing his belongings and papers in disarray. As a result of these actions, Mr.
16

17   Novoa felt harassed, intimidated, threatened, and embarrassed.

18         110. Officers threatened to segregate detainees who complained about the
19
     Work Program, working conditions, and/or subminimum wages.
20
           111. From his review of the Detainee Handbook and experience as a detained
21
22   immigrant at Adelanto, Mr. Novoa understood that detainees who disobeyed GEO
23
     officials or refused to clean could be subject to disciplinary action, including solitary
24
     confinement.
25
26


                                                24
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 1          112. If given a meaningful choice, Mr. Novoa would not have worked for $1
 2
     per day.
 3
            113. GEO falsely led Mr. Novoa to believe the corporation could not pay him
 4

 5   more than $1 per day, despite the fact that it does so as a matter of course at several of
 6   its other immigration detention facilities.
 7
            114. Mr. Novoa provided GEO with his labor because GEO’s threats of serious
 8
 9   harm and/or abuse of the legal process if he refused to work.
10          115. GEO retained the value of Mr. Novoa’s labor by realizing this value as
11
     corporate profits, rather than using it to provide for safer, more humane living
12
13   conditions for detainees at the Adelanto Facility.

14   G.     Plaintiff Jaime Campos Fuentes’ individual allegations.
15
            116. Mr. Campos Fuentes is citizen of El Salvador and is seeking asylum in the
16

17   United States.

18          117.      Mr. Campos Fuentes was detained at the Adelanto Facility from
19
     December 2016 through January 2018.
20
            118. Mr. Campos Fuentes has performed work for GEO at the Adelanto
21
22   Facility and was not paid the state minimum wage for the work he has performed.
23
            119. As a janitor, Mr. Campos Fuentes worked in a five-person crew to clean
24
     windows, floors, showers, bathrooms, and communal areas in the Facility. He worked
25
26


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 1   three-hour shifts, up to seven days per week. He sometimes worked multiple shifts in a
 2
     single day. He used cleaning supplies and equipment provided by GEO.
 3
             120. As a laundry worker, Mr. Campos Fuentes worked to sort, wash, dry, and
 4

 5   fold clothing and bedding used by detainees and in Facility operations. He worked three-
 6   hour shifts, up to five days per week. He used supplies and equipment provided by
 7
     GEO.
 8
 9           121. In return for this labor, GEO paid Mr. Campos Fuentes $1 per day,
10   regardless of the number of hours he worked. GEO credited these wages to Mr. Campos
11
     Fuentes’s commissary account.
12
13           122. Sometimes, Mr. Campos Fuentes was not paid for his labor. Instead, he

14   was given extra portions of food or nothing at all.
15
             123. GEO officials routinely required detainees to clean the common spaces
16

17   and bathrooms of the housing units for no compensation. For example, GEO officials

18   required Mr. Campos Fuentes to clean bathrooms, showers, floors, sinks, microwaves,
19
     and furniture in his housing unit for free.
20
             124. Mr. Campos Fuentes observed GEO officials threaten to lock detainees in
21
22   their cells, suspend their attorney and personal visits, and prohibit them from interacting
23
     with other detained immigrants if they refused to clean areas of the Adelanto Facility for
24
     free.
25
26


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 1          125. From his review of the Detainee Handbook and experience as a detained
 2
     immigrant at Adelanto, Mr. Campos Fuentes understood that detainees who disobeyed
 3
     GEO officials or refused to clean were subject to disciplinary action, including solitary
 4

 5   confinement.
 6          126. Mr. Campos Fuentes spent his wages on food, medicine, clothing, soap,
 7
     and shampoo from the Adelanto commissary, among other necessities.
 8
 9          127. GEO withheld daily necessities from Mr. Campos Fuentes, thereby forcing
10   him to work for subminimum wages in order to buy those daily necessities for himself
11
     and avoid serious harm, including, but not limited to, malnutrition, unsanitary living
12
13   quarters, extreme isolation, and unhygienic conditions of confinement.

14          128. During his detention, Mr. Campos Fuentes was often undernourished and
15
     dehydrated because GEO withheld sufficient food and water. He was also served rotten
16

17   meat, moldy bread, and inedible produce.

18          129. In order to survive, Mr. Campos Fuentes purchased food and drink from
19
     the commissary using his wages from the Work Program.
20
            130. GEO did not provide Mr. Campos Fuentes with sufficient quantities of
21
22   shampoo, lotion, or soap. As a result, Mr. Campos Fuentes was often forced to purchase
23
     those necessities from the commissary using his wages from the Work Program.
24
            131. If given a meaningful choice, Mr. Campos Fuentes would not have worked
25
26   for $1 per day or for free.


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 1          132. GEO falsely led Mr. Campos Fuentes to believe the corporation could not
 2
     pay him more than $1 per day, despite the fact that it does so as a matter of course at
 3
     several of its other immigration detention facilities.
 4

 5          133. Mr. Campos provided GEO with his labor because GEO threatened him
 6   with serious harm and/or abuse of the legal process if he refused to work.
 7
            134. GEO retained the value of Mr. Campos Fuentes’s labor by realizing this
 8
 9   value as corporate profits, rather than using it to provide for safer, more humane living
10   conditions for detainees at the Adelanto Facility.
11
     H.     Plaintiff Abdiaziz Karim’s individual allegations.
12
13          135. Mr. Karim is citizen of Somalia and is seeking asylum in the United States.

14          136. Mr. Karim was detained at the Adelanto Facility from approximately
15
     August 2017 until August 25, 2019.
16

17          137. Mr. Karim performed work for GEO at the Adelanto Facility and was

18   never paid the state minimum wage for the work he performed.
19
            138. As a porter, Mr. Karim worked in a five to seven-person crew to clean
20
     windows, floors, showers, and communal areas in the Adelanto Facility. He worked up
21
22   to seven days per week. He used cleaning supplies and equipment provided by GEO,
23
     and was supervised by GEO employees.
24
            139. Mr. Karim was paid $1 per day for his labor as a porter. However, he was
25
26   not paid at all during his first three months on the job.


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 1         140. During that period, GEO officials required him to work for free before he
 2
     would be hired into the Work Program.
 3
           141. Similarly, Mr. Karim was not paid for his labor as a porter from
 4

 5   approximately mid-May through July of 2018.
 6         142. During those months, GEO officials again required him to work without
 7
     compensation.
 8
 9         143. Mr. Karim also worked in the kitchen at the Adelanto Facility. As a food
10   service worker, he prepared food, served meals, cleaned the kitchen and dining halls,
11
     and washed dishes. He worked from approximately 2:00 a.m. until 8:00 a.m., up to seven
12
13   days per week, for about one month. He used supplies and equipment provided by

14   GEO, and was supervised by GEO employees.
15
           144. Mr. Karim was only paid approximately $1 total – not daily – for his labor
16

17   in the kitchen. He was told by GEO officials that he had to work for free before he

18   would be paid through the Work Program.
19
           145. On multiple occasions, GEO officials ordered Mr. Karim and other
20
     detained immigrants to clean various areas of the Adelanto Facility, including hallways,
21
22   the visitation area, the kitchen, and the yard, for no compensation.
23
           146. For example, GEO officials routinely required detained immigrants to
24
     clean the common spaces and showers of Mr. Karim’s housing unit for no
25
26   compensation. If detainees refused to clean for free, GEO officials would prohibit all


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 1   detained immigrants in the housing area from using the telephones or the showers, and
 2
     evacuate the day room. When this happened, detained immigrants had to remain in their
 3
     cells or bunks until a detained immigrant “volunteered” to complete the sanitation and
 4

 5   cleaning tasks that GEO required.
 6         147. GEO officials have threatened to take disciplinary action against Mr.
 7
     Karim for refusing to clean areas of the Adelanto Facility for free. For example, in
 8
 9   approximately August 2018, a GEO officer threatened to send Mr. Karim to solitary
10   confinement for refusing to clean for no compensation. The same GEO officer “tossed”
11
     Mr. Karim’s cell by throwing his belongings and papers in disarray, in full view of other
12
13   detained immigrants. GEO was able to compel Mr. Karim to work for free because of

14   this threatened and actual serious harm.
15
           148. On another occasion, a GEO official threatened to “write up” Mr. Karim
16

17   unless he cleaned certain walls and light fixtures in the Adelanto Facility for free. GEO

18   officials told Mr. Karim that “write ups” will negatively impact his asylum case. GEO
19
     was able to compel Mr. Karim to work for free because of this threat of serious harm.
20
           149. GEO knowingly obtained Mr. Karim’s labor by causing him to believe that
21
22   he would suffer serious physical or legal harm – including solitary confinement, transfer
23
     to a different housing unit, and harm to his legal case – if he refused to work.
24
           150. Mr. Karim participated in the Work Program in order to buy daily
25
26   necessities that GEO failed to provide for him. Mr. Karim spent his wages on food,


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 1   vitamins, and deodorant from the Adelanto Facility commissary, among other
 2
     necessities.
 3
            151. GEO withheld daily necessities from Mr. Karim, thereby forcing him to
 4

 5   work for subminimum wages in order to buy those necessities for himself and avoid
 6   serious harm, including, but not limited to, malnutrition, unsanitary living quarters,
 7
     extreme isolation, and unhygienic conditions of confinement.
 8
 9          152. Mr. Karim was often undernourished and dehydrated because GEO
10   withheld sufficient food and water. He was served dirty drinking water, rotten fruit, and
11
     undercooked chicken. Mr. Karim was rarely served fresh produce. As a result, he lost
12
13   muscle mass and hair, and often felt dizzy and weak.

14          153. Mr. Karim feared that if he stopped participating in the Work Program, he
15
     would not have access to sufficient daily necessities or nutrition.
16

17          154. If given a meaningful choice, Mr. Karim would not work for $1 per day.

18          155. Mr. Karim provided GEO with his labor because GEO officials threatened
19
     him with serious harm and/or abuse of the legal process if he refused to work.
20
            156. GEO retained the value of Mr. Karim’s labor by realizing this value as
21
22   corporate profits, rather than using it to provide for safer, more humane living
23
     conditions for detainees at the Adelanto Facility.
24
     I.     Plaintiff Ramon Mancia’s individual allegations.
25
26          157. Mr. Mancia is a resident of Los Angeles and a citizen of El Salvador.


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 1         158. Mr. Mancia entered the Adelanto Facility as a civil immigration detainee in
 2
     or around April 2019 and is currently detained there.
 3
           159. Mr. Mancia has performed work for GEO at the Adelanto Facility and has
 4

 5   never been paid the state minimum wage for the work he has performed.
 6         160. As a food service worker, Mr. Mancia works with a crew of approximately
 7
     a dozen other detained immigrants to prepare food, serve meals, and clean the kitchen
 8
 9   and dining halls. He works from approximately 9:00 a.m. until 3:00 p.m., up to seven
10   days per week. He uses cleaning supplies and equipment provided by GEO, and is
11
     supervised by GEO employees.
12
13         161. Mr. Mancia is currently paid $1 per day for his labor in the kitchen.

14         162. Mr. Mancia also works as a porter, but he is not paid for that work. Every
15
     day, Mr. Mancia collects trash and empty water jugs from each housing unit, and then
16

17   refills and returns the water jugs. He works with a crew of two or three other detainees

18   for approximately two hours per day, up to seven days per week. Mr. Mancia uses
19
     supplies and equipment provided by GEO, and is supervised by GEO officials.
20
           163. Mr. Mancia has never been compensated for his labor as a porter. Instead,
21
22   GEO officials occasionally give him extra food or milk, in violation ICE’s PBNDS and
23
     GEO’s contracts with ICE. Sometimes, Mr. Mancia receives nothing at all for his work.
24
           164. Mr. Mancia has performed other uncompensated janitorial and
25
26   maintenance work for GEO.


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 1         165. For example, GEO officials have ordered Mr. Mancia to paint a dining hall,
 2
     clean the medical unit, and clean the recreation yard. He has never been paid for that
 3
     work. Instead, GEO officials occasionally give Mr. Mancia extra food, batteries, or
 4

 5   clothing for his labor. Other times, he receives nothing at all.
 6         166. The uncompensated labor GEO ordered Mr. Mancia to perform often
 7
     corresponded with impending site visits and inspections by auditors at Adelanto. To
 8
 9   leave independent inspectors with a false impression of the state of the Facility and to
10   head off any complaints about maintenance, sanitation, and upkeep that could result in
11
     adverse audit results, GEO routinely forced Mr. Mancia and other detained immigrants
12
13   at Adelanto to perform uncompensated labor in advance of inspections.

14         167. Mr. Mancia participates in the Work Program in order to buy daily
15
     necessities that GEO fails to provide for him, including food and personal hygiene items.
16

17         168. GEO withholds daily necessities from Mr. Mancia, thereby forcing him to

18   work for subminimum wages in order to buy those necessities for himself and avoid
19
     serious harm, including, but not limited to malnutrition, unsanitary living quarters,
20
     extreme isolation, and unhygienic conditions of confinement.
21
22         169. GEO has knowingly obtained Mr. Mancia’s labor by causing him to believe
23
     that he would suffer serious physical or legal harm, including solitary confinement,
24
     transfer to a different housing unit, and harm to his legal case, if he refuses to work.
25
26


                                                 33
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 1         170. From his review of the Detainee Handbook and experience as a detained
 2
     immigrant at Adelanto, Mr. Mancia understands that detainees who disobey GEO
 3
     officials or refuse to clean can be subject to disciplinary action, including solitary
 4

 5   confinement, reporting to ICE, or criminal prosecution.
 6         171. If given a meaningful choice, Mr. Mancia would not work for $1 per day
 7
     or no money at all, as GEO has required him to do.
 8
 9         172. GEO retained the value of Mr. Mancia’s labor by realizing this value as
10   corporate profits, rather than using it to provide for safer, more humane living
11
     conditions for detainees at Adelanto.
12
13                           CLASS ACTION ALLEGATIONS

14         173. Plaintiffs bring this lawsuit as a class action on behalf of themselves and all
15
     others similarly situated under Federal Rules of Civil Procedure 23(a), 23(b)(2) and
16

17   23(b)(3). This action satisfies the numerosity, commonality, typicality, adequacy,

18   predominance, and superiority requirements of those provisions.
19
     A.    Class Definitions
20
           174. The California Wage Class. For Plaintiffs’ claims arising under the
21
22   California Labor Code and IWC Wage Order No. 5, the California Unfair Competition
23
     Law, and the common law of unjust enrichment, Plaintiffs seek to certify the following
24
     class: All civilly detained immigrants who (i) were detained at the Adelanto ICE
25
26   Processing Center any time between December 19, 2014 and the date of final judgment


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 1   in this matter, and either (ii) participated in the Voluntary Work Program at any point
 2
     during their detention, or (iii) performed work for no compensation in the
 3
     Uncompensated Work Program pending their participation in the Voluntary Work
 4

 5   Program, or (iv) performed work for no compensation pursuant to the Adelanto
 6   Housing Unit Sanitation Policy (the “California Wage Class”).
 7
            175. The California Forced Labor Class. For Plaintiffs’ claim for forced labor
 8
 9   arising under the California Trafficking Victims Protection Act, Plaintiffs seek to certify
10   the following class: All civil immigration detainees who (i) were detained at the Adelanto
11
     ICE Processing Center any time between May 1, 2011 and the date of final judgment in
12
13   this matter, and (ii) performed janitorial, maintenance, or other work at the Adelanto

14   ICE Processing Center above and beyond the four personal housekeeping tasks
15
     enumerated in ICE PBNDS § 5.8.V.C (the “California Forced Labor Class”).
16

17          176. The Nationwide HUSP Class. For Plaintiffs’ claim for forced labor

18   arising under the federal Trafficking Victims Protection Act, Plaintiffs seek to certify the
19
     following class: All civilly detained immigrants who (i) were detained at any civil
20
     immigration detention center owned or operated by GEO in the United States between
21
22   December 19, 2007 and the date of final judgment in this matter, and (ii) performed
23
     janitorial, maintenance, or other work anywhere in any GEO civil immigration detention
24
     facility above and beyond the four personal housekeeping tasks enumerated in ICE
25
26   PBNDS § 5.8.V.C (the “Nationwide HUSP Class”).


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 1          177. Excluded from the definition of the Nationwide HUSP Class are the
 2
     following: (1) individuals detained in GEO’s family residential detention facility in
 3
     Karnes City, Texas; (2) individuals detained in the Alexandria Staging Facility in
 4

 5   Alexandria, Louisiana; (3) any individual detained in the custody of the U.S. Marshalls
 6   or any other law enforcement agency at a GEO facility where the company also detains
 7
     civil immigration detainees pursuant to contracts with ICE; and (4) civilly detained
 8
 9   immigrants detainees held at the Aurora ICE Processing Center in Aurora, Colorado at
10   any time before October 22, 2014.
11
            178. The Adelanto Forced Labor Class. For Plaintiffs’ claim for attempted
12
13   forced labor arising under the federal Trafficking Victims Protection Act, Plaintiffs seek

14   to certify the following class: All civilly detained immigrants who (i) were detained at the
15
     Adelanto ICE Processing Center any time between May 1, 2011 and the date of final
16

17   judgment in this matter, and (ii) participated in the Work Program or Uncompensated

18   Work Program at any point during their detention. (The “Adelanto Forced Labor
19
     Class”).
20
            179. Excluded from each class definition are the defendants, their officers,
21
22   directors, management, subsidiaries, and affiliates, and all federal governmental entities.
23
     Plaintiffs reserve the right to revise the class definitions based upon information learned
24
     through discovery.
25
26


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 1   B.    Class Certification Requirements under Rule 23
 2
           180. Numerosity: Rule 23(a)(1). Each class is so numerous that joinder of all
 3
     members is impracticable. Plaintiffs do not know the exact size of the classes, since that
 4

 5   information is within the control of GEO. However, Adelanto can house up to 1,940
 6   individuals, with a guaranteed minimum of 1,455 filled beds daily. Further, “the total
 7
     number of participants in the Work Program at the Adelanto Facility since December
 8
 9   19, 2007 exceeds 1,000.” ECF 45 at 6. With respect to the Nationwide HUSP Class,
10   GEO’s facilities house more than 10,000 civilly detained immigrants each night, all of
11
     whom are subject to the uncompensated labor requirements and corresponding threats
12
13   of GEO’s HUSPs and facility discipline policies. Accordingly, Plaintiffs allege that the

14   number of class members for each class is numbered in the thousands. Membership in
15
     each class is readily ascertainable from GEO’s detention and employment records.
16

17         181. Commonality and Predominance: Rules 23(a)(2) and 23(b)(3). There

18   are numerous questions of law or fact common to each class, and those issues
19
     predominate over any question affecting only individual class members.
20
           182. With respect to the California Wage Class, the common legal and factual
21
22   issues include the following:
23
                  a. Whether GEO is an “employer” and the detained immigrant workers
24                   are “employees” under the California Minimum Wage Law (“MWL”);
25
                  b. Whether Plaintiffs and California Wage Class Members are entitled to
26                   the protections of the California Minimum Wage Order;


                                                37
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 1                c. Whether Plaintiffs and California Wage Class Members performed
                     compensable work;
 2
 3                d. Whether Plaintiffs and California Wage Class Members were paid $1
                     per day for their labor;
 4

 5                e. Whether GEO was unjustly enriched by paying subminimum wages to
                     its detained immigrant workers;
 6
 7                f. Whether GEO engaged in conduct that violated California law –
                     including the California Minimum Wage Order, and the California
 8                   Unfair Competition Law;
 9
                  g. Whether Plaintiffs and California Wage Class Members are entitled to
10                   equitable relief, including injunctive and declaratory relief; and
11
                  h. Whether Plaintiffs and California Wage Class Members are entitled to
12                   damages and other monetary relief and, if so, in what amount.
13
           183. With respect to the California Forced Labor Class, common legal and
14
15   factual issues include the following:
16                a. Whether GEO unlawfully forces, coerces, or otherwise compels civil
17                   immigration detainees at Adelanto to work for no compensation;

18                b. Whether GEO obtains detained immigrant labor through threats of
19                   serious harm or abuse of legal process;

20                c. Whether GEO’s HUSPs require detained immigrants to perform
21                   janitorial, maintenance, or other work above and beyond the four
                     personal housekeeping tasks enumerated in the ICE PBNDS;
22
23
                  d. Whether GEO’s conduct violates the California Trafficking Victims
                     Protection Act;
24
25
                  e. Whether Plaintiffs and California Forced Labor Class Members are
                     entitled to equitable relief, including injunctive and declaratory relief;
26                   and


                                                38
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 1                f. Whether Plaintiffs and California Forced Labor Class Members are
                     entitled to damages and other monetary relief and, if so, in what
 2
                     amount.
 3
           184. With respect to the Nationwide HUSP Class, common legal and factual
 4

 5   issues include the following:
 6
                  a. Whether GEO forces, coerces, or otherwise compels civil immigration
 7                   detainees at its civil immigration detention centers nationwide to work
                     for no compensation;
 8
 9                b. Whether GEO threatens detained immigrants with serious harm or
                     abuse of legal process for refusing or failing to perform uncompensated
10                   work;
11
                  c. Whether GEO maintains HUSPs at its civil immigration detention
12                   centers nationwide;
13
                  d. Whether GEO’s HUSPs require detained immigrants to perform
14                   janitorial, maintenance, or other work above and beyond the four
15                   personal housekeeping tasks enumerated in the ICE PBNDS;

16                e. Whether GEO’s conduct violates the federal Trafficking Victims
17                   Protection Act;

18                f. Whether Plaintiffs and Nationwide HUSP Class Members are entitled
19
                     to equitable relief, including injunctive and declaratory relief; and

20                g. Whether Plaintiffs and Nationwide HUSP Class Members are entitled
                     to damages and other monetary relief and, if so, in what amount.
21
22         185. With respect to the Adelanto Forced Labor Class, common legal and
23
     factual issues include the following:
24
                  a. Whether GEO withholds basic living necessities from immigrants
25
                     detained at Adelanto;
26


                                               39
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 1                 b. Whether GEO attempts to compel detainees to work, either through
                      the Work Program or otherwise, through threats of serious harm;
 2
 3                 c. Whether a reasonable person would provide labor to GEO under the
                      circumstances present here;
 4

 5
                   d. Whether GEO’s conduct violates the federal Trafficking Victims
                      Protection Act; and
 6
                   e. Whether Plaintiffs and Adelanto Forced Labor Class Members are
 7
                      entitled to equitable relief, including injunctive and declaratory relief.
 8
            186. Typicality: Rule 23(a)(3). The claims asserted by Plaintiffs are typical of
 9
10   the claims of the Classes, in that the representative plaintiffs, like all class members, were
11   paid subminimum wages – or nothing at all – while employed by GEO at the Adelanto
12
     Facility. Each Plaintiff, like each class member, was subject to similar GEO policies and
13
14   practices, including the HUSP and the Work Program, and each faced the threat of

15   serious harm for refusing to work. Each member of each proposed class has been
16
     similarly injured by GEO’s misconduct.
17
18
            187. Adequacy: Rule 23(a)(4). Plaintiffs will fairly and adequately protect the

19   interests of the classes. Plaintiffs have retained attorneys experienced in class and
20
     complex litigation, including wage and hour class action litigation. Plaintiffs intend to
21
     vigorously prosecute this litigation. Neither Plaintiffs nor their counsel have interests
22
23   that conflict with the interests of the other class members.
24
            188. Superiority: Rules 23(b)(3). Plaintiffs and the Class Members have all
25
     suffered and will continue to suffer harm and damages as a result of GEO’s wrongful
26
     conduct. A class action is superior to other available methods for the fair and efficient
                                                  40
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 1   adjudication of the controversy. Treatment as a class action will permit a large number
 2
     of similarly situated persons to adjudicate their common claims in a single forum
 3
     simultaneously, efficiently, and without the duplication of effort and expense that
 4

 5   numerous individual actions would engender. Class treatment will also permit the
 6   adjudication of claims by many members of the proposed classes who could not
 7
     individually afford to litigate a claim such as is asserted in this complaint. This class
 8
 9   action likely presents no difficulties in management that would preclude maintenance as
10   a class action.
11
            189. Rule 23(b)(2). This action concerns GEO policies and practices that place
12
13   every detainee at the Adelanto and GEO’s other civil immigration detention facilities in

14   peril of wage theft, forced labor, attempted forced labor, and serious harm. All members
15
     of the California Forced Labor Class, Nationwide HUSP Class, and Adelanto Forced
16

17   Labor Class seek the same injunctive relief. Accordingly, final injunctive relief or

18   corresponding declaratory relief is appropriate respecting the class as a whole.
19
                                     CAUSES OF ACTION
20
                                        COUNT I
21
                           CALIFORNIA MINIMUM WAGE LAW
22                          Cal. Labor Code §§ 1194, 1197, 1197.1
23
            190. Plaintiffs reallege and incorporate by reference herein all allegations above.
24
25
26


                                                41
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 1             191. The California Legislature set the following minimum wages for 2011-
 2
     2019:19
 3
                January 1, 2019        $12.00 for employers with 26 employees or more
 4

 5              January 1, 2017        $10.50 for employers with 26 employees or more
 6
                January 1, 2014        $9.00
 7
                January 1, 2008        $8.00
 8
 9
10
               192. The minimum wage is an obligation of the employer and cannot be waived
11
     by any agreement.
12
13             193. Detained immigrants at the Adelanto Facility do not forfeit their rights to
14   wage protections.
15
               194. Employees protected by California’s minimum wage laws must be paid at
16

17   least the set hourly minimum wage.
18             195. Detained immigrants at the Adelanto Facility who participate in the Work
19
     Program qualify as employees of GEO under California law.
20
21             196. GEO qualifies as an employer under California law, including Industrial

22   Wage Commission (“IWC”) Order 5.
23
24
25
26   19
          See http://www.dir.ca.gov/iwc/MinimumWageHistory.htm/;
          https://www.dir.ca.gov/dlse/faq_minimumwage.htm
                                                   42
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 1          197. Labor in the immigration detention context is not intended as a punitive
 2
     measure.
 3
            198. GEO does not compensate detained immigrants the state minimum wage
 4

 5   for the work they performed at the Adelanto Facility. Instead, GEO pays detainees $1
 6   per day – or nothing at all -- for work they perform at the Facility. Sometimes, GEO
 7
     pays detainees with extra food, batteries, socks, or boxers.
 8
 9          199. Plaintiffs and California Wage Class Members have suffered damages in an
10   amount to be determined at trial.
11
            200. Plaintiffs and California Wage Class Members are entitled to recover
12
13   unpaid minimum wages and other monetary damages, including exemplary damages.

14   C.R.S. § 13- 21-102.
15
            201. Plaintiffs and California Wage Class Members are entitled to recover their
16

17   reasonable attorney’s fees and costs.

18          202. Plaintiffs and California Wage Class Members are entitled to equitable
19
     relief, including injunctive and declaratory relief.
20
                                            COUNT II
21
                                    UNJUST ENRICHMENT
22                                   California Common Law
23
            203. Plaintiffs reallege and incorporate by reference herein all allegations above.
24
25
26


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 1         204. GEO materially and significantly reduced its labor costs and expenses, and
 2
     increased its profits, because Plaintiffs and California Wage Class Members perform
 3
     undercompensated labor.
 4

 5         205. Plaintiffs and California Wage Class Members conferred non-gratuitous
 6   benefits upon GEO by performing work for $1 per day, for which GEO would
 7
     otherwise have had to pay at least the applicable minimum wage or more, thereby
 8
 9   significantly and materially increasing GEO’s profits, unjustly enriching GEO at the
10   expense of and detriment to Plaintiffs and California Wage Class Members.
11
           206. GEO’s retention of any benefit collected directly and indirectly from this
12
13   uncompensated labor violated principles of justice, equity, and good conscience.

14         207. As a direct and proximate result of GEO’s forced labor practices, Plaintiffs
15
     and California Wage Class Members have suffered concrete harm and injury, including
16

17   physical and emotional injury, monetary loss, and the unlawful violation of their rights.

18         208. Plaintiffs and California Wage Class Members have suffered damages in an
19
     amount to be determined at trial.
20
           209. Plaintiffs and California Wage Class Members are entitled to recover
21
22   exemplary damages.
23
           210. Plaintiffs and California Wage Class Members are entitled to recover the
24
     benefits GEO has unjustly obtained through their un- or under-compensated labor.
25
26


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 1          211. Plaintiffs and California Wage Class Members are entitled to recover their
 2
     reasonable attorney’s fees and costs.
 3
                                       COUNT III
 4
                      CALIFORNIA UNFAIR COMPETITION LAW
 5                        Cal. Bus. & Prof. Code § 17200, et seq.
 6          212. Plaintiffs reallege and incorporate by reference herein all allegations above.
 7
            213. California’s    Unfair      Competition   Law   (“UCL”)     prohibits     unfair
 8
 9   competition, defined as “any unlawful, unfair or fraudulent business act or practice and
10   unfair, deceptive, untrue or misleading advertising and any act prohibited by [California’s
11
     False Advertising Law].” Cal. Bus. & Prof. Code § 17200.
12
13          214. GEO willfully violated, and continues to violate, the “unlawful” prong of

14   the UCL by violating California law.
15
            215. The acts, omissions, and practices of GEO constitute unfair and unlawful
16

17   business acts and practices under the UCL in that GEO’s conduct offends public policy

18   against forced labor, and seeks to profit by violating Plaintiffs’ rights under state and
19
     federal law.
20
            216. As a direct and proximate result of GEO’s unlawful and unfair business
21
22   practices, Plaintiffs and California Wage Class Members have suffered economic injury.
23
            217. Plaintiffs and California Wage Class Members have suffered damages in an
24
     amount to be determined at trial.
25
26


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 1         218. Plaintiffs and California Wage Class Members are entitled to recover their
 2
     reasonable attorney’s fees and costs.
 3
                                    COUNT IV
 4
                                FORCED LABOR
 5              CALIFORNIA TRAFFICKING VICTIMS PROTECTION ACT
                               Cal. Civ. Code § 52.5
 6
 7         219. Plaintiffs reallege and incorporate by reference herein all allegations above.
 8         220. Plaintiffs and California Forced Labor Class Members are victims of forced
 9
     labor as defined by Cal. Civ. Code § 52.5.
10
11         221. Pursuant to the California Trafficking Victims Protection Act, Cal. Civ.
12   Code § 52.5, “a victim of human trafficking, as defined in Section 236.1 of the Penal
13
     Code, may bring a civil action for actual damages, compensatory damages, punitive
14
15   damages, injunctive relief, any combination of those, or any other appropriate relief.”

16         222. Human trafficking is defined as the deprivation or violation of the personal
17
     liberty of another “with the intent to obtain forced labor or services.” Cal. Penal Code
18
19
     § 236.1.

20         223. Forced labor or services is defined as “labor or services that are performed
21
     or provided by a person and are obtained or maintained through force, fraud, duress, or
22
     coercion, or equivalent conduct that would reasonably overbear the will of the
23
24   person.” Cal. Penal Code § 236.1(h)(5).
25
26


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 1          224. GEO violates Cal. Civ. Code § 52.5 by knowingly maintaining corporate
 2
     policies and uniform practices at Adelanto aimed at obtaining free detainee labor and
 3
     services by:
 4

 5                  a. Forcing or coercing Plaintiffs and California Forced Labor Class
                       Members to perform uncompensated janitorial, maintenance, or other
 6
                       work at the Adelanto Facility above and beyond the four personal
 7                     housekeeping tasks enumerated in the ICE PBNDS pursuant to GEO’s
                       HUSP;
 8
 9                  b. Forcing or coercing Plaintiffs and California Forced Labor Class
                       Members to perform uncompensated janitorial, maintenance, or other
10                     work at the Adelanto Facility pursuant to GEO’s Uncompensated
11                     Work Program Policy;
12                  c. Threatening Plaintiffs and California Forced Labor Class Members with
13                     physical restraint and/or serious harm, including solitary confinement,
                       referral to an ICE officer, or criminal prosecution, if they refuse to
14                     provide their uncompensated labor; and
15
                    d. Actually subjecting Plaintiffs and California Forced Labor Class
16                     Members with physical restraint and/or serious harm, including solitary
17                     confinement, referral to an ICE officer, or criminal prosecution, if they
                       refuse to provide their uncompensated labor.
18
19
            225. GEO materially and significantly reduced its labor costs and expenses, and

20   increased its profits, by unlawfully forcing and coercing Plaintiffs and California Forced
21
     Labor Class Members to perform uncompensated labor. In order to drive profits, GEO
22
     acted with the intent to obtain forced labor or services from its detainees.
23
24          226. Plaintiffs and California Forced Labor Class Members have suffered
25
     damages in an amount to be determined at trial.
26


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 1          227. Plaintiffs and California Forced Labor Class Members are entitled to
 2
     recover from GEO all amounts that GEO has wrongfully and improperly obtained, and
 3
     GEO should be required to disgorge to Plaintiffs and California Forced Labor Class
 4

 5   Members the benefits it has unjustly obtained.
 6          228. Plaintiffs and California Forced Labor Class Members are also entitled to
 7
     recover compensatory and punitive damages.
 8
 9          229. Plaintiffs and California Forced Labor Class Members are entitled to
10   declaratory and injunctive relief.
11
            230. Plaintiffs and California Forced Labor Class Members are entitled to
12
13   recover their reasonable attorney’s fees and costs.

14                                  COUNT V
15                             FORCED LABOR
               FEDERAL TRAFFICKING VICTIMS PROTECTION ACT
16                       18 U.S.C. §§ 1589(a) and 1594(a)
17
            231. Plaintiffs and Nationwide HUSP Class Members are victims of forced
18
19
     labor as defined by the federal Trafficking Victims Protection Act.

20          232. 18 U.S.C. §§ 1589(a) and 1594(a) prohibits any entity from knowingly
21
     providing or obtaining the labor of a person “by means of any scheme, plan, or pattern
22
     intended to cause the person to believe that, if that person did not perform such labor
23
24   or services, that person or another person would suffer serious harm or physical
25
     restraint.” 18 U.S.C. § 1589(a).
26


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 1             233. Serious harm is defined as “any harm, whether physical or nonphysical,
 2
     including psychological, financial, or reputational harm, that is sufficiently serious, under
 3
     all the surrounding circumstances, to compel a reasonable person of the same
 4

 5   background and in the same circumstances to perform or to continue performing labor
 6   or services in order to avoid incurring that harm.” 18 U.S.C. § 1589(c).
 7
               234. GEO provides or obtains the labor or services of Plaintiffs and Nationwide
 8
 9   HUSP Class Members by means of physical restraint or threats of physical restraint to
10   Plaintiffs and others. 18 U.S.C. § 1589(a)(1).
11
               235. GEO also provides or obtains the labor or services of Plaintiffs and
12
13   Nationwide HUSP Class Members by means of serious harm or threats of serious harm.

14   18 U.S.C. § 1589(a)(2).
15
               236. GEO provided or obtained the labor or services of Plaintiffs and
16

17   Nationwide HUSP Class Members by means of a scheme, plan, or pattern intended to

18   cause them to believe that, if they did not perform such labor or services, they would
19
     suffer serious harm or physical restraint, including solitary confinement. 18 U.S.C. § 1589
20
     (a)(4).
21
22             237. GEO violates 18 U.S.C. §§ 1589(a) and 1594(a) by knowingly maintaining
23
     corporate policies and uniform practices at most of its civil immigration detention
24
     centers aimed at obtaining free detainee labor and services by:
25
26                   a. Forcing or coercing Plaintiffs and Nationwide HUSP Class Members
                        to perform uncompensated janitorial, maintenance, or other work at a

                                                  49
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 1                    GEO civil immigration detention facility above and beyond the four
                      personal housekeeping tasks enumerated in the ICE PBNDS pursuant
 2
                      to GEO’s HUSPs;
 3
                   b. Threatening Plaintiffs and Nationwide HUSP Class Members with
 4
                      physical restraint and/or serious harm, including solitary confinement,
 5                    referral to an ICE officer, or criminal prosecution, if they refuse to
                      provide their uncompensated labor; and
 6
 7                 c. Actually subjecting Plaintiffs and Nationwide HUSP Class Members
                      with physical restraint and/or serious harm, including solitary
 8                    confinement, referral to an ICE officer, or criminal prosecution, if they
 9                    refuse to provide their uncompensated labor.
10          238. GEO materially and significantly reduced its labor costs and expenses, and
11
     increased its profits, by unlawfully forcing and coercing Plaintiffs and Nationwide HUSP
12
13   Class Members to perform uncompensated labor. In order to drive profits, GEO acted

14   with the intent to obtain forced labor or services from its detainees.
15
            239. Plaintiffs and Nationwide HUSP Class Members have suffered damages in
16

17   an amount to be determined at trial.

18          240. Plaintiffs and Nationwide HUSP Class Members are entitled to recover
19
     from GEO all amounts that GEO has wrongfully and improperly obtained, and GEO
20
     should be required to disgorge to Plaintiffs and Nationwide HUSP Class Members the
21
22   benefits it has unjustly obtained.
23
            241. Plaintiffs and Nationwide HUSP Class Members are also entitled to
24
     recover compensatory and punitive damages.
25
26


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 1          242. Plaintiffs and Nationwide HUSP Class Members are entitled to declaratory
 2
     and injunctive relief.
 3
            243. Plaintiffs and Nationwide HUSP Class Members are entitled to recover
 4

 5   their reasonable attorney’s fees and costs.
 6
                                   COUNT VI
 7                FORCED AND ATTEMPTED FORCED LABOR
               FEDERAL TRAFFICKING VICTIMS PROTECTION ACT
 8                       18 U.S.C. §§ 1589(a) and 1594(a)
 9
            244. Plaintiffs reallege and incorporate by reference herein all allegations above.
10
11          245. Plaintiffs and Adelanto Forced Labor Class Members are victims of forced
12   labor and attempted forced labor as defined by 18 U.S.C. §§ 1589(a) and 1594(a).
13
            246. GEO attempts to violate 18 U.S.C. § 1589(a)(2) by knowingly maintaining
14
15   corporate policies and uniform practices at the Adelanto Facility aimed at obtaining free

16   or nearly free detainee labor and services by:
17
                   a. Withholding daily necessities from Plaintiffs and Adelanto Forced
18                    Labor Class Members, thereby forcing them to work for subminimum
19
                      wages in order to buy those daily necessities for themselves and avoid
                      serious harm, including, but not limited to, malnutrition, unsanitary
20                    living quarters, extreme isolation, and unhygienic conditions of
                      confinement; and
21
22                 b. Threatening Plaintiffs and Adelanto Forced Labor Class Members with
                      physical restraint, serious harm, including solitary confinement, referral
23
                      to an ICE officer, criminal prosecution, and abuse of law or legal
24                    process, if they refuse to provide their labor, organize a work stoppage,
                      or participate in a work stoppage.
25
26


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 1         247. GEO further violated 18 U.S.C. §§ 1589 and 1594 by maintaining a
 2
     corporate policy and uniform practice at the Adelanto Facility of threatening Plaintiffs
 3
     and Adelanto Forced Labor Class Members with serious harm, including solitary
 4

 5   confinement, referral to an ICE officer, or criminal prosecution if they refused to work.
 6         248. GEO attempts and perpetrates the offense of forced labor against
 7
     Plaintiffs and Adelanto Forced Labor Class Members.
 8
 9         249. GEO knowingly benefitted financially from participation in a venture
10   GEO knew or should have known engaged in unlawful coercion of labor in violation of
11
     18 U.S.C. §§ 1589(a) and 1594(a).
12
13         250. Plaintiffs and Adelanto Forced Labor Class Members have suffered

14   damages in an amount to be determined at trial.
15
           251. Plaintiffs and Adelanto Forced Labor Class Members are entitled to
16

17   recover compensatory and punitive damages.

18         252. Plaintiffs and Adelanto Forced Labor Class Members are entitled to
19
     recover their reasonable attorney’s fees and costs.
20
                                          COUNT VII
21
                                         RETALIATION
22
           253. Plaintiffs reallege and incorporate by reference herein all allegations above.
23
24         254. On July 3, 2018, GEO answered Plaintiff’s original Complaint and alleged
25
     two conditional counterclaims against Plaintiff Raul Novoa and “any putative class or
26


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 1   classes certified by the Court” for “unjust enrichment/offset” and “declaratory relief.”
 2
     ECF No. 45 at 18.
 3
            255. Plaintiffs brought a reply counterclaim for retaliation against GEO on July
 4

 5   24, 2018. ECF No. 50.
 6          256. GEO answered Plaintiffs’ reply counterclaim for retaliation on August 14,
 7
     2018. ECF No. 58.
 8
 9          257. On November 30, 2018, the Court dismissed GEO’s counterclaim for
10   “unjust enrichment/offset” with prejudice. ECF No. 101.
11
            258. On December 19, 2018, GEO filed its First Amended Answer and
12
13   Counterclaim to Plaintiff’s First Amended Complaint, ECF No. 106, wherein GEO

14   alleged, again, a counterclaim against Plaintiff Novoa and “against any putative class or
15
     classes certified by the Court” for “declaratory relief.”
16

17          259. Plaintiffs filed their Second Amended Complaint on December 24, 2018.

18   ECF No. 108.
19
            260. On January 28, 2019, GEO filed its Answer and Counterclaim to Plaintiffs’
20
     Second Amended Complaint, ECF No. 113, yet again alleging a conditional
21
22   counterclaim for “declaratory relief” against Plaintiffs and “any putative class or classes
23
     certified by the Court.”
24
25
26


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 1         261. On February 18, 2019, Plaintiffs filed their Answer and Affirmative
 2
     Defenses to GEO’s Conditional Counterclaim and again brought a reply counterclaim
 3
     for retaliation against GEO. ECF No. 117.
 4

 5         262. GEO’s counterclaim for “declaratory relief” is a retaliatory in terrorem tactic
 6   against Plaintiffs and the class members for bringing their claims to court.
 7
           263. Plaintiff Raul Novoa was detained at the Adelanto Facility from June 2012
 8
 9   through February 2015.
10         264. On December 19, 2017, Plaintiff Novoa, on behalf of himself and all
11
     others similarly situated, filed a class action complaint seeking money damages and
12
13   injunctive relief from GEO for the continued and unlawful economic exploitation of

14   civil immigration detainees at the Adelanto ICE Detention Center. ECF No. 1. By filing
15
     this lawsuit, Plaintiff Novoa engaged in a protected activity.
16

17         265. GEO waited until July 3, 2018 – more than three years after Plaintiff

18   Novoa was released from the Adelanto Facility, and only after this Court denied in part
19
     GEO’s motion to dismiss – to file its counterclaims against Mr. Novoa and all putative
20
     class members for “unjust enrichment/offset” and “declaratory relief.”
21
22         266. GEO’s motive in bringing these counterclaims is to retaliate against
23
     Plaintiffs and deter the class members – thousands of vulnerable and indigent individuals
24
     – from exercising their protected right to litigate their claims against GEO.
25
26


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 1          267. GEO’s counterclaim targets each and every putative class member, i.e.
 2
     every individual who has been civilly detained at Adelanto since May 1, 2011.
 3
            268. GEO has a strong financial interest in deterring Plaintiffs and the putative
 4

 5   class members from prosecuting their case.
 6          269. GEO represented to the United States Court of Appeals for the Tenth
 7
     Circuit that a similar federal class action lawsuit currently pending Colorado “poses a
 8
 9   potentially catastrophic risk to GEO’s ability to honor its contracts with the federal
10   government.” Petition for Permission to Appeal Class Certification at 30, Menocal et al.
11
     v. The GEO Group, Inc., No.14-02887 (10th Cir. March 13, 2017) (“potentially
12
13   catastrophic risk”).

14          270. GEO’s counterclaim for “declaratory relief” is wholly without merit and is
15
     reasonably likely to deter the protected activity of filing and prosecuting a lawsuit.
16

17          271. Plaintiffs’ counterclaim in reply of retaliation arises out of the same

18   transaction or occurrence and the same set of aggregate facts that are the subject matter
19
     of GEO’s counterclaims.
20
            272. Plaintiffs’ counterclaim in reply does not require adding another party over
21
22   whom the Court cannot acquire jurisdiction.
23
            273. Plaintiffs are entitled to an Order enjoining GEO from continuing to
24
     retaliate against Plaintiffs and class members; declaratory and other equitable relief as is
25
26   necessary to protect the interests of Plaintiffs and class members; and Plaintiffs’


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 1   reasonable expenses and attorney’s fees incurred as a result of defending GEO’s
 2
     frivolous counterclaim.
 3
                                   PRAYER FOR RELIEF
 4

 5         WHEREFORE, Plaintiffs, individually and on behalf of the classes they seek to
 6   represent, request that the Court:
 7
                  a. Certify this action as a class action, with four classes as defined above;
 8
 9                b. Find that Plaintiffs are proper representatives of the classes and appoint
                     the undersigned as class counsel;
10
11                c. Order GEO to pay for notifying class members of the pendency of this
                     suit;
12
13                d. Order disgorgement of GEO’s unjustly-acquired revenue, profits, and
                     other benefits resulting from its unlawful conduct;
14
15                e. Award declaratory and other equitable relief as is necessary to protect
                     the interests of Plaintiffs and class members;
16

17                f. Award injunctive relief as is necessary to protect the interests of
                     Plaintiffs and class members, including enjoining GEO from
18                   continuing to conduct business through the unlawful and unfair
19
                     practices alleged herein;

20                g. Award Plaintiffs and class members monetary damages for lost wages
                     in an amount to be determined at trial;
21
22                h. Award Plaintiffs and class members their reasonable litigation expenses
                     and attorneys’ fees; and
23
24                i. Award any further relief that the Court deems just and equitable.
25
26


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 1                              CERTIFICATE OF SERVICE
 2
           I, Lydia A. Wright, electronically submitted the foregoing document with the clerk
 3
     of the court for the U.S. District Court, Central District of California, using the
 4
 5   electronic case filing system. I hereby certify that I have provided copies to all counsel
 6   of record electronically or by another manner authorized by Fed. R. Civ. P. 5(b)(2).
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